                             Case 8:20-bk-03608-CPM                                 Doc 150              Filed 06/15/20               Page 1 of 10

 Fill in this information to identify the case:

 Debtor name         CFRA Tri-Cities, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)          8:20-bk-03610-CPM
                                                                                                                                                            Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim            Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $2,466.82      $2,466.82
           see attached                                              Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $199,137.00
           see attached                                                             Contingent
                                                                                    Unliquidated
           Date(s) debt was incurred                                                Disputed
           Last 4 digits of account number                                         Basis for the claim:

                                                                                   Is the claim subject to offset?      No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                     $4,916.48
           see attached                                                             Contingent
                                                                                    Unliquidated
           Date(s) debt was incurred                                                Disputed
           Last 4 digits of account number                                         Basis for the claim:     Employee Claims - non priority
                                                                                   Is the claim subject to offset?      No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims


Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                               page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                   27157                                            Best Case Bankruptcy
                              Case 8:20-bk-03608-CPM                          Doc 150         Filed 06/15/20               Page 2 of 10

 Debtor       CFRA Tri-Cities, LLC                                                                 Case number (if known)         8:20-bk-03610-CPM
              Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                               On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.       $                       2,466.82
 5b. Total claims from Part 2                                                                        5b.   +   $                     204,053.48

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.       $                        206,520.30




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 8:20-bk-03608-CPM              Doc 150      Filed 06/15/20
                                                                           Case No.Page   3 of 10
                                                                                    8:02-bk-03610
                                                                              Attachment to Schedule E
                                                                              Employee Priority Claims

 CFRA Tri-Cities, LLC




                                                                                            Contingent
                                                                                                         Unliquidated
                                                                                                                        Disputed
Last Name First Name      Address                                                 Amount




Armstead     Nathan       2 Ridgewood Ter            Johnson City Tn 37601           7.20
Barquero     Stephanie    907 Antioch Road #47         Johnson City Tn 37604         0.77
Bentley      Michael      2119 Preston Rd          Big Sone Gap Va 24219           326.37
Blizzard     Payton       370 Silver Lake Road        Church Hill Tn 37642          13.93
Brannon      Sandra       102 Oakcrest Circle #3      Bristol Va 24201               5.25
Brindley     Kyle         5620 Simerly Creek Rd        Unicoi Tn 37692               7.45
Buckner      Karley       1811 West Lakeview Drive        Johnson City Tn 37601      8.92
Carlton      Sharon       2804 Plymouth Rd Apt 5 Johnson City Tn 37601              28.43
Carpenter    Kayla        103 Sequoyah Dr            Johnson City Tn 37601          30.31
Castle       Isabell      2815 Broad St         Bristol Tn 37620                    90.78
Collins      Brittany     208 White Street         Gray Tn 37615                    10.41
Cooper       Amy          917 Bandit Drive     Bristol Va 24201                     26.53
Crisp        Breanna      601 Holston Street       Kingsport Tn 37660               16.92
Deraps       Tonya        15091 Canary Lane           Bristol Va 24202              15.71
Gibson       Dani         228 Rockhous Rd # 43 Johnson City Tn 37604                23.12
Hall         Cynthia      308 Newland Ave             Kingsport Tn 37660            11.51
Harrison     Jacob        800 Teasel Dr           Kingsport Tn 37660               117.85
Hawkins      Sharrecca    425 Rich Dr             Kingsoport Tn 37660                2.93
Hynes        Mike         330 Godsey Road Apt# 4         Bristol Tn 37620           13.60
Jones        Alexis       6735 Carters Valley Road      Church Hill Tn 37642       172.08
Knight       Carolyne     3002 S Roan St Apt 3        Johnson City Tn 37601         83.85
Lawrence     Kendra       17070 Horton Highway          Fall Branch Tn 37656        78.95
Lopez        Paula        2701 South Roan St 155        Johnson City Tn 37601       29.38
Massey       Taylor       215 Stanley Valley Road       Rogersville Tn 37857        30.78
Mavros       Lillith      207 East Chestnut St       Johnson City Tn 37601         117.72
Phipps       Ashlyn       1110 Highway 91            Elizabethton Tn 37643          54.72
Ramirez      Luis         100 Carter Sells Road Apt 21 Johnson City Tn 37604       227.14
Reed         Magadelene   128 Country Garden Road        Johnson City Tn 37601       9.35
Reed         Sydney       128 Country Garden Rd         Johnson City Tn 37601       19.46
Reedy        Samantha     207 E Chestnut St         Johnson City Tn 37601           66.00
Richards     Emily        302 Tennessee Ave           Bluff City Tn 37618           54.84
Rose         Katelyn      223 Belmont Avenue Mount Carmel Tn 37645                  36.32
Ryans        James        410 East Myrtle Ave         Johnson City Tn 37601         70.98
Rynaski      Sandra       942 Cooks Valley Rd         Kingsport Tn 37664           209.84
Samples      William      4000 Brandon Ln Lot 106 Kingsport Tn 37660                89.54
Shahmoradi   Tara         3179 Linden Dr Bristol Va 24202                            2.12
Shaw         Tamia        101 Big Valley Drive        Bristol Va 37620              22.27
Simpson      Rebecca      1422 East Center Street     Kingsport Tn 37664             0.00
Smalley      Shawna       1916 Darnell Dr         Kingsport Tn 37665                13.01
Smith        Madison      19062 Benhams Rd             Bristol Va 24202              8.89
Smith        Robin        1209 Fork Ridge Road         Lebanon Va 24266             26.09
Stratton     Elijah       1013    Johnson City Tn 37604                             27.92
Taylor       Chazten      1301 Seminole Drive 17B        Johnson City 37604         96.31
Teaster      Chelsea      126 Stage Road Jonesborugh Tn 37659                       26.69
Teaster      Janet        126 Stage Road Jonesborugh Tn 37659                        0.08
Van Dyke     Jason        404 Hammond Ave             Mount Carmel Tn 37645         68.27
             Case 8:20-bk-03608-CPM           Doc 150      Filed 06/15/20   Page 4 of 10




                                                                                    Contingent
                                                                                                 Unliquidated
                                                                                                                Disputed
Last Name First Name   Address                                           Amount




Walters   Alaecius     111 Alexander Crossing Dr Church Hill Tn 37642       17.19
Webb      Deborah      Po Box 1192           Milligan College Tn 37682      12.76
Woods     Katlin       1345 Fairveiw Ave        Kingsport Tn 37660          36.28

                       Total                                             2,466.82
                       Case 8:20-bk-03608-CPM             Doc 150          Filed 06/15/20    Page 5Case
                                                                                                     ofNo.
                                                                                                        108:20-bk-03610
                                                                                                   Attachment to Schedule F

CFRA Tri-Cities, LLC




                                                                                                                     Contingent

                                                                                                                                  Unliquidated

                                                                                                                                                 Disputed
Company                        Address                      City           State     Zip                  Amount




CITY OF KINGSPORT              PO BOX 880                   Kingsport      TN        37662-0880            866.19
BRIGHTRIDGE                    PO BOX 2058                  Johnson City   TN        37605-2058           2,594.92
JOHNSON CITY UTILITY SYS       PO BOX 2386                  Johnson City   TN        37605-2386           1,987.76
Bristol Virginia Utiliti       P.O. Box 8100                Bristol        VA        24203-8100           1,844.13
GFL ENVIRONMENTAL              1803 GRAYSON TURNPIKE        Wytheville     VA        24382                 237.22
BELTRAM EDGE TOOL SUPPLY       PO Box 844620 Dept #101      Boston         MA                             3,555.23
BONDED FILTER CO.              DEPT# SF 81 PO BOX 830525 Birmingham        AL        35283-0525             95.56
BRISTOL HEATING & AIR C        , I 1905 BROOKSIDE LANE      Kingsport      TN        37660                  200.00

BROADWAY LIGHTS, LLC           PO BOX 16253                 Greenville     SC        29606             103,065.00                                     X
CAPTIVEAIRE SYSTEMS            P.O. BOX 60270               Charlotte      NC        28260                 992.65
COMMERCIAL KITCHEN SPECI       1377 N. Brazos Street        San Antonio    TX        78207                1,209.52

CONCORD PRINTING CO.           420 COPPERFIELD BLVD         Concord        NC        28025                  83.46
DAN'S PROFESSIONAL PLUM        1558 Fuller Street           Kingsport      TN        37664                5,325.00

DATAMAX SERVICES, INC          6251 PARK OF COMMERCE        Boca Raton     FL        33487                  447.50

DSI/DATASOURCE INC.            DEPT 730023 PO BOX 660919 Dallas            TX        75266-0919            174.88
DELAWARE SECRETARY OF ST       401 Federal St., Suite 3     Dover          DE        19901                 300.00
FISH WINDOW CLEANING           1296 SUGAR HOLLOW            Bristol        TN        37620                   50.00

FORD & HARRISON LLP            271 17TH ST NW, STE 1900     Atlanta        GA        30363               10,605.11

GREEN GALYEN PRESSURE WA       120 BOONE AVE                Johnson City   TN        37615                  275.00

HAMCO RALEIGH                  1314 FAIRVIEW ROAD           Raleigh        NC        27608                 334.91
HPI DIRECT, INC.               PO BOX 748000                Cincinnati     OH        45274                 973.27
INTERFACE SECURITY SYSTE       8339 Solutions Center        Chicago        IL        60677-8003           1,316.07
NATIONAL TAX CREDIT HOLDI      10499 W. BRADFORD RD         Littleton      CO        80127                1,762.53
Performance Food Group         7420 Ranco Rd.               Richmond       VA        23228              55,361.00                                     X
PREMIER FIRE PROTECTION,       PO BOX 1103                  Bristol        TN        37621                1,193.11

RETAIL TECHNOLOGY GROUP        1663 FENTON BUSINESS         Fenton         MO        63026                 191.63
ROSNET                         2005 BACHELOR RD             Mooresboro     NC        28114                1,600.00
RUSTIC RIDGE LANDSCAPING       PO BOX 8115                  Gray           TN        37615                1,050.00

S&D COFFEE, INC.               P.O. BOX 1628                Concord        NC        28027-1628            686.79
STANLEY STEEMER OF TRI-        1074 LYNN GARDEN DR Suite A Kingsport       TN        37665                  200.00

WASSERSTROM COMPANY            PO BOX 182056                Columbus       OH        43218-2056            558.78

                                                                                     Total             199,137.22
               Case 8:20-bk-03608-CPM             Doc 150                 Case No.Page
                                                                Filed 06/15/20    8:20-bk-03610
                                                                                        6 of 10
                                                                            Attachment to Schedule F
                                                                            Employee Claims - non priority
  CFRA Tri-Cities, LLC




                                                                                              Contingent
                                                                                                           Unliquidated
                                                                                                                          Disputed
Last Name First Name     Address                                                    Amount




Acevedo       Brett      1050 Tip Top Ave      Kingsport Tn 37665                     11.95
Andrews       Kelsie     338 Old Gray Station Rd      Johnson City Tn 37601           14.45
Arbaugh       Dalton     103 Angeline Dr         Gray Tn 37615                        39.27
Ball          Michael    19453 Noble Dr         Bristol Va 24202                      54.97
Bassetti      Mary       10199 Crescent Rd.         Glade Spring Va 24340              4.39
Batista       Giovanni   423 W Chestnut St          Johnson City Tn 37604             10.27
Benedetto     Jennifer   370 Vi Ranch Road         Bristol Tn 37620                   75.35
Blizzard      Payton     370 Silver Lake Road        Church Hill Tn 37642              7.02
Bowen         Shakeena   13 Mcgregor Street         Johnson City 37604                 3.61
Brannon       Sandra     102 Oakcrest Circle #3      Bristol Va 24201                  6.58
Brower        Tiffany    800 Woodland Dr             Mount Carmel Tn 37645            25.23
Browers       Phillip    113 Beechgrove St          Telford Tn 37690                  12.00
Brown         Walker     930 Sugar Hollow Road #19 Piney Flats Tn 37686               58.80
Burkhart      Beverly    3549 Crestwood Dr       Kingsport Tn 37660                    6.21
Calliham      Tiffani    1176 Ward Place       Kingsport Tn 37660                     16.62
Carlton       Sharon     2804 Plymouth Rd Apt 5 Johnson City Tn 37601                  3.83
Christian     Emily      975 Charlie Doty Rd         Greenville Tn 37745               1.34
Cleek         Nicholas   127 Belsay Dr     Kingsport Tn 37660                         98.99
Coates        Kristina   109 Fairfax Rd           Kingsport Tn 37660                   0.07
Cole          Alissa     502 Fall St          Johnson City Tn 37604                   10.51
Connor        Shawn      17 East Mary St     Virginia Vt 24201                         7.85
Cook          Terry      547 Burem Rd              Rogersville Tn 37857               39.39
Cooper        Joshua     110 Sheffield Circle     Gray Tn 37615                       30.91
Cox           Fianna     1211Division Street        Johnson City Tn 37615             21.00
Curry         Nicole     119 Woodland Drive Jonesborough Tn 37659                     29.50
Daly          Thomas     1940 Park St       Kingsport Tn 37664                         0.08
Daugherty Janie          19448 Yamaha Circle Bristol Va 24202                         18.40
Delancey      Benjamin   370 Patterson Hill Rd      Blountville Tn 37617              37.84
Dukes         Keyona     910 Dale St            Kingsport Tn 37660                    46.17
Durham        Hubert     2911 West Reynosa Lane         Big Stone Gap Va 24219        16.97
Ferrer Rivera Omar       1120 North Main Avenue        Erwin Tn 37604                 16.77
Fleming       Jessie     18748 Jeb Stuart Hwy         Abingdon Va 24211               28.79
Flowers       Mariah     1018 Sparrow Road          Abingdon Va 24210                106.77
Forney        David      02 West 9Th Avenue Johnson City Tn 37604                    157.92
Gragg         Janice     938B Lynn Garden Drive Apt B Kingsport Tn 37665              18.47
Haynes        Nicole     1233 Milligan Highway Johnson City Tn 37601                  29.54
Hicks         Chasity    1236 Union Street      Kingsport Tn 37665                     8.31
Hunt          Antwain    718 Oakview Ave Apt A4         Bristol Va 24201              24.57
Hunter        Dameon     405 Salem St         Kingsport Tn 37660                      26.72
Hyatt         Rebecca    392 Ridgecrest Road         Jonesborough Tn 37659            51.50
Jantzen       Cheyenne   6 Jackson Ln         Bristol Va 24201                        13.48
Jenkins       Della      8 Heritage Dr Apt 11     Bristol Va 24201                     1.39
Johnson       Carolyne   1742 Highland St          Kingsport Tn 37664                 68.23
Kamer         Jackie     822 Walnut Ave Kingsport Tn 37660                            32.90
Killaby       Kassidy    112 West Cedar St        Bristol Tn 37620                     1.84
Larkins       Ashley     1457 Ridgecrest Ave Lot 4 Kingsport Tn 37660                 16.00
Leedy         Ashley     244 Shipley Rd Lot 16 Church Hill Tn 37642                  122.19
                Case 8:20-bk-03608-CPM             Doc 150       Filed 06/15/20   Page 7 of 10




                                                                                             Contingent
                                                                                                          Unliquidated
                                                                                                                         Disputed
Last Name First Name     Address                                                  Amount




Leonard      Sarah       254 Mcfarlane Ln            Rosedale Va 24280                3.06
Lingerfelt   Whitney     205 E Fairview Ave       Johnson City Tn 37601              71.70
Lopez        Xochilt     809 New Beason Well Rd           Kingsport Tn 37660         39.36
Manis        Sarah       2899 Eaton Hill Rd    Hiltons Va 24258                      33.47
Martin       Jarrod      313 E Sullivan Street Kingsport Tn 37660                    25.39
Mathies      Mathies     600 Garden Drive        Bristol Va 24202                    21.35
Mckinney     Kaitlin     07 Brian Lane      Erwin Tn 37650                           49.99
Mcvey        Charles     924 Beverly Dr.           Abingdon Va 24210                 33.89
Menya        Sheldon     1538 Waverly Gardens Kingsport Tn 37664                    204.01
Mitchell     Tiffany     15586 Lee Hwy Briistol Va 24201                              0.21
Muncey       Kasi        20066 Haskell Station Roa Bristol Va 24202                  27.55
Nave         Olyvia      651 Quarry St          Bristol Va 24201                     16.44
Nechtman     Alan        6434 Hayters Gap Rd       Saltville Va 24370                12.19
Nielsen      Anna        272 Newstock Rd             Asheville Nc 28804              16.94
Nobleton     Tamika      305 Grande Ave Ext         Johnson City Tn 37604             5.93
Norris       Lindsey     15589 Lee Hwy             Bristol Va 24202                  12.85
Norton       Jeremiah    4 Taylor Ridge Court         Johnson City Tn 37601           3.02
Okeefer      Gloria      622 Milam St       Kingsport Tn 37660                      144.50
Owens        Ashley      1009 Rosetree Lane          Kingsport Tn 37660              16.71
Patton       Marcus      3303 Lita Drive    Johnson City Tn 37604                     1.40
Peters       Jamie       303 Deck Valley Rd           Bristol Tn 37620               19.74
Pierce       Allison     1110 Highway 91             Elizabethton Tn 37643           12.45
Pillow       Zachary     1920 Bowater Drive          Kingsport Tn 37660             170.90
Powers       Patsy       145 Terry Powers Road          Unicol Tn 37692           1,208.76
Price        Tiffany     127 Arbutus Ave          Kingsport Tn 37660                 11.43
Reed         Sydney      128 Country Garden Rd          Johnson City Tn 37601        37.09
Ripley       Alaina      546 Rich Drive Kingsport Tn 37664                           25.94
Robinette    Lexus       21533 Sharrett Rd        Bristol Va 24202                    3.17
Rock         Lindsey     16422 Pine Hill Rd.         Bristol Va 24202                 1.38
Rock         Whitney     16665 Pine Hill Rd Apt A1           Bristol Va 24202         3.66
Rover        Aaron       105 Sequoyah Drive           Johnson City Tn 37601          46.25
Rynaski      Sandra      942 Cooks Valley Rd          Kingsport Tn 37664            154.53
Salinas      Maria       2140 West G Street       Elizabethton Tn 37643              11.08
Salyer       William     730 Little Duck Rd      Nickelsville Va 24271               35.68
Samples      William     4000 Brandon Ln Lot 106 Kingsport Tn 37660                  84.68
Schrayer     Kristina    5 Euclid Ave Apt 78         Bristol Va 24201               105.29
Shahmoradi   Tara        3179 Linden Dr Bristol Va 24202                              3.33
Silvers      Julie       502 Foxgate Dr            Erwin Tn 37650                    52.23
Simpson      Rebecca     1422 East Center Street      Kingsport Tn 37664             72.26
Smalley      Johanna     904 Tiptop Ave            Kingsport Tn 37660                61.07
Smith        Lorie       1941 Springdale Lane          Kingsport Tn 37660            30.14
Smith        Madison     19062 Benhams Rd              Bristol Va 24202              28.65
Smith        Robin       1209 Fork Ridge Road          Lebanon Va 24266              35.57
Sommers      Caley       516 West Highland Rd           Johnson City Tn 37604        23.04
Spencer      Frederick   1451 East Sevier Avenue        Kinsport Tn 37664            12.85
Stout        Jason       330 Godsey Rd         Bristol Tn 37620                      52.59
Surgener     Ashlyn      2017 Diana Road       Kingsport Tn 37660                     2.94
              Case 8:20-bk-03608-CPM            Doc 150      Filed 06/15/20    Page 8 of 10




                                                                                          Contingent
                                                                                                       Unliquidated
                                                                                                                      Disputed
Last Name First Name     Address                                               Amount




Tarter     Malik         102 E Unaka Ave       Johnson City Tn 37601             80.75
Taylor     Forrest       63 Regency Square         Johnson City, Tn 37601        39.01
Teaster    Chelsea       126 Stage Road Jonesborugh Tn 37659                      5.19
Thrift     Nena          3783 W Market Street , Johnson City Tn 37604            10.09
Tittle     Zachary       02 Ashley Road #133        Johnson City Tn 37604        22.52
Voss       Brandi        799 Ridge Road     Powell Tn 82435                      41.49
Watts      Tina          1000 Stonegate Road Kingsport Tn 37660                   0.08
Welch      Shari         1924 Lee Hwy           Bristol Va 24201                  5.28
Wexler     Cathy         232 Fletcher St     Kingsport Tn 34665                   8.69
White      Daniel        4513 Bluff City Highway      Bluff City Tn 37618        39.48
White      Natasha       723 South Austin Springs Road Johnson City Tn 37601     45.17
Williams   Heather       157 Young Road Johnson City Tn 37604                    15.17
Williams   Tabetha       24136 Wilson Haus Rd Apt 8 Bristol Va 24202              0.51
Winter     Mary          05 West Watauga           Johnson City Tn 37604         37.02
Woodard    Christopher   432 Rich Dr      Kingsport Tn 37660                     10.89
Woodfin    April         115 Ray Woodfin Lne         Joneborough Tn 37659        44.59
Worsham    Seth          107 Keeland Drive        Johnson City Tn 37615          28.93

                         Total                                                 4,916.48
                                   Case 8:20-bk-03608-CPM                                            Doc 150                  Filed 06/15/20                         Page 9 of 10

 Fill in this information to identify the case:

 Debtor name            CFRA Tri-Cities, LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)               8:20-bk-03610-CPM
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            41,791.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            41,791.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       19,545,656.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              2,466.82

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           204,053.48


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         19,752,176.30




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                            Case 8:20-bk-03608-CPM                              Doc 150          Filed 06/15/20              Page 10 of 10




 Fill in this information to identify the case:

 Debtor name         CFRA Tri-Cities, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         8:20-bk-03610-CPM
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule       E/F
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 15, 2020                           X /s/ J. Tim Pruban
                                                                       Signature of individual signing on behalf of debtor

                                                                       J. Tim Pruban
                                                                       Printed name

                                                                       Chief Restructuring Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
